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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                     CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                 )
                                         )       Case No. 3:99CR00007
                                         )
                                         )       OPINION
v.                                       )
                                         )      By: James P. Jones
DUDLEY KIM SMITH,                        )      Chief United States District Judge
                                         )
             Defendant.                  )

      Sharon Burnham, Assistant United States Attorney, Roanoke, Virginia, for
United States; Dudley K. Smith, Pro Se Defendant.

      The government has objected to any reduction in sentence for this defendant,

who is eligible for such a reduction under 18 U.S.C. § 3582(c)(2) by virtue of the

lowering of the crack cocaine guidelines.

      I will overrule the government's objections.

      The government, in its stock response, asks the court to reconsider information

contained in the Presentence Investigation Report (in particular the conduct

underlying the offense and the defendant's criminal history), to consider the fact that

the defendant has been treated with "substantial leniency" because he has benefitted

from a plea agreement, and to consider the defendant's behavior while incarcerated.

      I find none of the government's boilerplate arguments persuasive. As I have

explained on several prior occasions, see, e.g., United States v. Herndon, No.
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3:01CR00063, 2008 WL 750588 at *1 (W.D. Va. Mar. 19, 2008), the defendant's

criminal background and the conduct underlying his offense are taken into

consideration when calculating his Criminal History Category and Total Offense

Level. The government has failed even to allege that the defendant's criminal history

or danger to the public are not accurately conveyed by his Criminal History Category

and Total Offense Level. Accordingly, I find that neither the conduct underlying the

offense nor the defendant's criminal history is a bar to reducing his sentence.

      The government next argues that the defendant has already received a lower

sentence than he should have received because he benefitted from a plea agreement,

and therefore his sentence should not be reduced. The government's argument, taken

to its logical conclusion, boggles the mind. According to the government, if a

defendant pleads guilty and accepts responsibility for his criminal behavior, his

sentence should not be reduced because he has already benefitted from a plea

agreement. In contrast, those defendants who put the government to its burden of

proof at trial would deserve a reduction because they have not already benefitted from

a plea agreement. To the extent that a plea agreement is relevant to whether a

defendant's sentence should be reduced in accord with the amended sentencing

guidelines, it cannot have the impact asserted by the government.




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      Finally, the government contends the defendant's behavior while incarcerated

militates against a reduction in his sentence. The Chronological Disciplinary Report

submitted by the government indicates that in the almost ten years that the defendant

has been incarcerated, he has been sanctioned for one incident of nonviolent

misconduct. I do not find his behavior while in prison sufficiently reprehensible to

bar a reduction of his sentence.

      A separate judgement will be entered.

                                              Dated: June 11, 2008

                                               /S/ JAMES P. JONES
                                              Chief United States District Judge




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